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 1   Dustin D. Johnson (SBN: 234008)
     The Law Offices of Dustin D. Johnson
 2   2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
 3   Phone: (877) 377-8070
     Fax: (916) 244-9889
 4

 5   Attorney for Robert Carrillo
 6

 7

 8                                    UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No. 2:12-cr-185 TLN
12                       Plaintiff,                    STIPULATION AND ORDER TO
                                                       CONTINUE STATUS CONFERENCE
13            v.
                                                       Judge: Hon. Troy L. Nunley
14   ROBERT CARRILLO, et al.                           Time: 9:30 a.m.
                                                       Date: February 18, 2016
15                       Defendants.
16

17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective

18   counsel, Jason Hitt, Assistant United States Attorney, Michael Petrik, Counsel for Robb Cheal,

19   Chris Cosca, Counsel for Ryan Cheal, and Dustin D. Johnson, Counsel for Robert Carrillo, now

20   move to that the status conference date of December 3, 2015 be vacated, and the matter be set for

21   status conference on February 18, 2016 at 9:30 a.m. under Local Code T4. The reason for this

22   continuance is to allow the defense additional time to review the case. Counsel for Mr. Carrillo

23   was recently appointed to represent Mr. Carrillo and needs time to review the discovery, perform

24   investigation and research and meet with and discuss the case with Mr. Carrillo. Counsel met with

25   Mr. Carrillo on Friday, November 27, 2015. Mr. Carrillo agrees with this continuance.

26            Mr. Petrik, Robb Cheal’s attorney, agreed to this continuance via email.

27            Mr. Cosca, Ryan Cheal’s attorney, agreed to this continuance via email.

28   ///
           Case 2:12-cr-00185-TLN Document 160 Filed 12/01/15 Page 2 of 4


 1            The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
 2            Based on the above-stated findings, the ends of justice served by continuing the case as
 3   requested outweigh the interest of the public and the defendant in a trial within the original date
 4   prescribed by the Speedy Trial Act.
 5            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.,
 6   within which trial must commence, the time period of December 3, 2015 and February 18, 2016,
 7   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
 8   because it results from a continuance granted by the Court at defendant’s request on the basis of
 9   the Court’s finding that the ends of justice served by taking such action outweigh the best interest
10   of the public and the defendant in a speedy trial.
11            Nothing in this stipulation and order shall preclude a finding that other provisions of the
12   Speedy Trial Act dictate that additional time periods are excludable from the period within which
13   a trial must commence.
14   Dated: December 1, 2015                                  Respectfully submitted,
15
                                                              /s/ Dustin D. Johnson
16                                                            Dustin D. Johnson
                                                              Counsel for Robert Carrillo
17

18
     Dated: December 1, 2015                                  Respectfully submitted,
19

20                                                            /s/ Michael Petrik (approved via email)
                                                              Michael Petrik, DFPD
21
                                                              Counsel for Robb Cheal
22

23   Dated: December 1, 2015                                  Respectfully submitted,
24

25                                                            /s/ Chris Cosca (approved via email)
                                                              Chris Cosca
26                                                            Counsel for Ryan Cheal
27   ///

28   ///
                                                          2
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 1   Dated: December 1, 2015                   BENJAMIN WAGNER
 2                                             United States Attorney
 3
                                               /s/ Jason Hitt (approved via email)
 4                                             JASON HITT
 5                                             Assistant U.S. Attorney

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11   UNITED STATES OF AMERICA,                          Case No. 2:12-cr-185 TLN
12                      Plaintiff,                      ORDER TO CONTINUE STATUS
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13          v.
                                                        Judge: Hon. Troy L. Nunley
14   ROBERT CARRILLO, et al.                            Time: 9:30 a.m.
                                                        Date: February 18, 2016
15                      Defendants.
16

17          Court, having received, read, and considered the stipulation of the parties, and good cause

18   appearing, adopts the stipulation in its entirety as its order. The Court specifically finds that the

19   failure to grant a continuance in this case would deny defense counsel reasonable time necessary

20   for effective preparation, taking into account the exercise of due diligence. The Court finds that

21   the ends of justice served by granting the continuance outweigh the best interests of the public

22   and defendants in a speedy trial.

23          The Court orders the status conference rescheduled for February 18, 2016, at 9:30 a.m.

24   The Court orders the time from the date of this order, up to and including February 18, 2016,

25   excluded from computation of time within which the trial of this case must commence under the

26   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.

27   Dated: December 1, 2015
28


                                                                  Troy L. Nunley
                                                                  United States District Judge
